Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document      Page 1 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document      Page 2 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document      Page 3 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document      Page 4 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document      Page 5 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document      Page 6 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document      Page 7 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document      Page 8 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document      Page 9 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 10 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 11 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 12 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 13 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 14 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 15 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 16 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 17 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 18 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 19 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 20 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 21 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 22 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 23 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 24 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 25 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 26 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 27 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 28 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 29 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 30 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 31 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 32 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 33 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 34 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 35 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 36 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 37 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 38 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 39 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 40 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 41 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 42 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 43 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 44 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 45 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 46 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 47 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 48 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 49 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 50 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 51 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 52 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 53 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 54 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 55 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 56 of 57
Case 16-67191-jrs   Doc 17   Filed 12/09/16 Entered 12/09/16 12:35:54   Desc Main
                             Document     Page 57 of 57
